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             1:14-cv-13858-GAO
                  1:22-mj-00165-GMH
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Memorandum
To:     Honorable George A. O’Toole, Senior U.S. District Judge
From: Christopher Foster, Supervisory U.S. Probation Officer
Date: June 27, 2022
Re:     Delonte Brooks (Dkt. #14-CV-13858); Request for access to Sealed Docket and to File
        Attached Request for a Warrant


The purpose of this Memorandum is to request access to Mr. Brooks’ Civil Sealed Docket (Dkt. #14-
CV-13858) and to file the attached Warrant request prepared by the Probation Office from the District
of Columbia. The District of Columbia has been supervising Mr. Brooks since he commenced
supervision.

If the Court grants access to this docket and is amenable to the filing of this Warrant by this writer, please
indicate by endorsing below.


Reviewed/Approved By:
/s/ James Pace
James Pace
Supervisory U.S. Probation Officer
Date: 6/27/22


 The Court Orders:
 ___ Access and filing of Warrant allowed

 ___ Access and filing of Warrant denied

 ___ Other
                                                                            __________________________
                                                                            Honorable George A. O’Toole
                                                                            Senior U.S. District Judge

                                                                            Date:
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    PROB 12A-DC
    (Rev. 11/10)

                           UNITED STATES DISTRICT COURT
                                      FOR THE
                               DISTRICT OF COLUMBIA

                                 U.S. Probation Office Memorandum
                                             (Request for Warrant)

      To:                           George A. O’Toole, Jr.
                                    United States District Judge
                                    District of Massachusetts

      Date:                      04/28/2022

      Name of Offender:          BROOKS, Delonte

      Docket Number:             1:14CV13858-GAO

      Original Sentence:        10/21/2015: Mr. Brooks was committed to the custody of the
                                Attorney General, pursuant to 18 USC § 4246(d). On July 26, 2018,
                                Your Honor found that Mr. Brooks met his burden, pursuant to 18
                                USC § 4246(e)(2), of establishing clear and convincing evidence that
                                he would not pose a danger to others or to the property of others.
                                Accordingly, he was conditionally released from his commitment on
                                August 2, 2018. Special condition(s) as follows:

                                x   reside at a mental health community residential facility
                                x   participate in mental health treatment
                                x   maintain medication compliance
                                x   consent to a social security Representative Payee for Social
                                    Security benefits
                                x   voluntarily admission into a hospital for treatment
                                x   abstain from the use of alcohol and illegal drugs
                                x   substance abuse testing and treatment
                                x   firearm/destructive device/deadly weapon restriction

    Supervision Began:          08/02/2018

    Supervision Expires:        Indefinite


    The probation office believes Mr. Brooks is noncompliant with the condition(s) of his supervision
    as indicated below.
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    Nature of Noncompliance:

           1.      Mr. Brooks has failed to comply with Release Order condition number eleven
                   (11) in that he has failed to comply with substance abuse treatment
                   recommendations made by his probation officer.

    On or about March 22, 2022, Mr. Brooks failed to comply with the recommendation of the District
    of Columbia, Department of Behavioral Health’s Addiction Prevention and Recovery
    Administration (APRA) and the instruction of the probation officer to complete a 28-day inpatient
    treatment program at Federal City Treatment Facility. Mr. Brooks left the program the same day.

    On or about April 18, 2022, Mr. Brooks failed to comply with the recommendation of the District
    of Columbia, Department of Behavioral Health’s Addiction Prevention and Recovery
    Administration (APRA) and the instruction of the probation officer to complete a 28-day inpatient
    treatment program at Samaritan Inn. Mr. Brooks left the program the same evening.

    Supervision Adjustment: Mr. Brooks is currently residing with his grandmother, Rebecca Moore,
    in Capital Heights, Maryland. Beginning in October 2021, Ms. Moore began reporting he was
    presenting with increased manic periods and erratic behavior. This behavior included walking
    around his neighborhood naked and breaking out his bedroom window to exit the residence. Police
    Officers frequently stopped Mr. Brooks and returned him home. During this period, Ms. Moore
    believes he began using synthetic substances and she did not believe he was taking his
    psychotropic medications orally. Mr. Brooks’ community treatment counselor at Life Stride also
    believed he may be using synthetic drugs and began seeking placement at a residential treatment
    facility. The psychiatrist also switched his monthly medication to injectable beginning November
    2021. The probation office also began referring him to community-based transitional and treatment
    facilities; however, no facility would accept Mr. Brooks.

    On January 18, 2022, Mr. Brooks was involuntarily admitted to the University of Maryland
    Behavioral Health Unit for observation after his grandmother contacted the police in response to
    him breaking out the windows in the house. Over the next several weeks, Mr. Brooks did show a
    small improvement, but he continued to walk around the neighborhood half-dressed and without
    shoes. His grandmother still alleged he was using synthetic substances, which would exacerbate
    his mental health issues. Urinalyses conducted by the probation office did not reveal any positive
    results. We note synthetic drugs are harder to detect based on their ever-changing formulas.

    On March 3, 2022, Mr. Brooks was again involuntarily held in the University of Maryland
    Behavioral Health Unit for observation. He was detained by the police after his grandmother
    reported his erratic behavior. The probation officer and Ms. Moore continued to work with Life
    Stride to identify an inpatient treatment facility during this period.
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    On March 15, 2022, Mr. Brooks was accepted into a detox program at the Psychiatric Institute of
    Washington (PIW), through a referral made by the District of Columbia, Department of Behavioral
    Health. On March 22, 2022, the probation officer spoke with Mr. Brooks at PIW and instructed
    him to transition from detox to a 28-day inpatient treatment program. He was resistant to the
    program, but agreed to comply. On March 22, 2022, he was transported to Federal City Treatment
    Facility, but left the program that same evening and returned to his grandmother’s residence. On
    March 30, 2022, Mr. Brooks again returned to PIW and completed three days of detoxification.
    He was released on April 2, 2022.

    On April 3, 2022, Mr. Brooks was arrested by Prince George’s County Police Officers and charged
    with Theft under $100.00. These charges have not been formally filed as of this date.

    On April 5, 2022, during a meeting with Mr. Brooks at his residence, the probation office provided
    him one final opportunity to enter and complete a inpatient treatment program and then enter a
    transitional housing program. On April 8, 2022, Mr. Jordan was accepted into the Jordan House,
    which provides short term assistance for individuals in mental health crisis. On April 18, 2022,
    Mr. Brooks was transported to Samaritan Inn to begin a 28-day treatment program, followed by
    long-term transitional housing. He left the program that same day and returned to his
    grandmother’s residence.

    On April 26, 2022, the probation office staffed Mr. Brook’s treatment with a representative of Life
    Stride. Based on Mr. Brooks continued resistance to treatment and failure to comply with treatment
    placements, there are minimal treatment options for him in the community. Mr. Brooks presents
    as an escalated public safety risk and a risk to himself.

    Throughout his term of conditional release, Mr. Brooks has repeatedly displayed an unwillingness
    and lack of motivation to follow directives and conform to structure. In addition, he has clearly
    presented a pattern of walking away from inpatient treatment options afforded to him.

    Mr. Brooks has struggled immensely with adapting to community supervision. He has incurred
    several psychiatric episodes which have resulted in short-term hospitalizations. In each instance,
    treatment professionals have consistently surmised it is probable that his mental health
    deterioration is symptomatic of drug use. Efforts to engage Mr. Brooks in any substance abuse
    programs, detox programs, or long-term treatment and for synthetic drugs have been unsuccessful.

    Recommendation: Issue a warrant in order to implement involuntary commitment proceedings.
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                                                     I declare under penalty of perjury that the
                                                     foregoing is true and correct.

                                                                        2022.05.02
                                              By:                       11:36:09 -04'00'
                                                     ____________________________________
                                                     Frederick A. Albert, III Senior    Date
                                                     United States Probation Officer
                                                     (202) 565-1386
                                                               2022.05.03
                                                               13:37:54
                                    Approved by:               -04'00'
                                                     ____________________________________
                                                     André Wilson, Supervisory          Date
                                                     United States Probation Officer
                                                     (202) 565-1428

    Notice to Parties:

     Government Counsel                Defense Counsel                   Bureau of Prisons
     Anita Johnson                     Federal Public Defender’s         Richard Russell,
     United States Attorney’s Office   Office                            Acting Warden
     John Joseph Moakley United        Attn: Joshua Hanye                Federal Medical
     States Federal Courthouse         51 Sleeper Street, 5th Floor      Center, Devens
                                       Boston, MA 02210
     1 Courthouse Way, Suite 9200      Email: Joshua_Hanye@fd.org        PO Box 880
     Boston, MA 02210                                                    Ayer, MA 01432
                                                                         Email:
                                                                         sspaulding@bop.gov
